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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                FORT SMITH DIVISION

 UNITED STATES                                                     PLAINTIFF/RESPONDENT


        v.                              CV NO. 2:13-cv-2044
                                       CR NO. 2:11-cr-20043

 JAMIE ACEVES-MARTINEZ                                            DEFENDANT/PETITIONER

                                          ORDER

        Before the Court is the Defendant's Motion for Retention and Appointment of Counsel

 (ECF No. 105) filed August 9, 2013. On April 23, 2013 the Court entered a Report and

 Recommendation (ECF No. 103) that the Defendant's Motion to Vacate under 28 U.S.C.A.

 §2255 (ECF No. 95) and Motion to Supplement (ECF No. 101) be dismissed.

        For the reasons stated in the Report and Recommendation previously filed the

 Defendant's Motion for Retention and Appointment of Counsel (ECF No. 105) is DENIED.



        IT IS SO ORDERED this August 14, 2013.




                                            /s/ J. Marschewski
                                            HONORABLE JAMES R. MARSCHEWSKI
                                            Chief United States Magistrate Judge
